            Case 1:15-cr-00046-LJO-SKO Document 117 Filed 08/22/17 Page 1 of 3



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 3
     Telephone: (559) 497-6132
 4
     Attorney for Defendant,
 5   LENELE MARIA NUNEZ
 6
 7                        IN THE UNITED STATES DISTRICT COURT FOR THE
 8                                 EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,                                 Case No. 1:15-CR-00046 LJO-SKO

11           Plaintiff,                                        STIPULATION TO CONTINUE
                                                               SENTENCING HEARING
12                  v.                                         AND ORDER THEREON

13   LENELE MARIA NUNEZ,                                       DATE: March 26, 2018
                                                               TIME: 9:30 a.m.
14          Defendant.                                         Courtroom Four

15                                                             Honorable Lawrence J. O'Neill

16
17          Defendant, LENELE MARIA NUNEZ, by and through her counsel, John F. Garland and
18
     the United States of America, by and through its counsel, Phillip A. Talbert, United States
19
     Attorney and Kathleen A. Servatius, Assistant United States Attorney, hereby stipulate to
20
     continue the defendant's sentencing hearing from September 11, 2017 to March 26, 2018 at 9:30
21
22   a.m. This continuance is necessary for the following reasons:

23   (1) The defendant had major surgery on November 10, 2016 to remove a cancerous tumor and
24
     her physician had determined that she needed chemotherapy treatments to be administered for
25
     six months (mid-January through mid-July).
26
     (2) In May 2017 the defendant was not responding to the chemotherapy treatments and her
27
28   physician discovered that a new tumor had developed and the cancer was very aggressive.
                                                          1
     ___________________________________________________________________________________________________________________
            Case 1:15-cr-00046-LJO-SKO Document 117 Filed 08/22/17 Page 2 of 3


     (3) The defendant's physician referred her to Stanford University Medical Center where the
 1
     physicians confirmed that the cancer was very aggressive and had advanced to stage four. The
 2
 3   Stanford medical team scheduled the defendant for surgery on August 2, 2017. On July 31, 2017

 4   the defendant's August 2nd surgery was cancelled because the Stanford medical team determined
 5
     that radiation treatment was necessary in order to shrink the tumor and reduce the possibility that
 6
     the cancer would spread throughout the defendant's body.
 7
     (4) To date the defendant has received seven radiation treatments and one week of 24/7
 8
 9   chemotherapy treatments. The radiation treatments will be completed in four weeks and surgery

10   will be scheduled thereafter, with a target surgery date in mid-October.
11
     (5) The Stanford team has informed the defendant that the recovery period after the surgery is
12
     12 to 16 weeks, to be followed with more chemotherapy treatment. The length of the post-
13
     surgery chemotherapy treatment is dependent on the success of the surgery and the success of the
14
15   pre-surgery radiation and chemotherapy treatments. Counsel's calculation of the time necessary

16   for the defendant to complete all of the anticipated treatment takes the date for the continued
17   sentencing hearing to March 2018. The parties have agreed to continue the defendant's
18
     sentencing hearing to March 26, 2018.
19
     (6) This continuance will also allow the defendant and the United States Probation Office to
20
21   include the defendant's most current health condition and medical treatment needs in the

22   Presentence Investigation Report, which are relevant factors to be considered by the Court in
23   determining a reasonable sentence. United States Probation Officer Ross Micheli has no
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     objection to the requested continuance.
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              The parties further stipulate that any delay resulting from this continuance shall be
26
27   excluded on the following basis:

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                                                          2
     ___________________________________________________________________________________________________________________
            Case 1:15-cr-00046-LJO-SKO Document 117 Filed 08/22/17 Page 3 of 3


                       Title 18 United States Code Section 3161(h)(8)(A) - that the ends of justice
 1
                       served by taking such action outweighs the best interest of the public and the
 2
 3                     defendant in a speedy trial.

 4
     Dated: August 21, 2017                                        /s/ John F. Garland
 5
                                                                      John F. Garland
 6                                                                 Attorney for Defendant
                                                                 LENELE MARIA NUNEZ
 7
 8
     Dated: August 21, 2017                                           Phillip A. Talbert
 9                                                                   United States Attorney

10                                                                /s/ Kathleen A. Servatius
                                                               By: Kathleen A. Servatius
11
                                                                    Assistant U.S. Attorney
12
13                                                ORDER
14            GOOD CAUSE APPEARING, based on the stipulation of the parties,
15
     IT IS HEREBY ORDERED that the sentencing hearing for defendant LENELE MARIA
16
     NUNEZ is continued to March 26, 2018 at 9:30 a.m.
17
18
19   IT IS SO ORDERED.
20
         Dated:      August 22, 2017                                 /s/ Lawrence J. O’Neill _____
21                                                         UNITED STATES CHIEF DISTRICT JUDGE

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